     Case 1:21-cr-00040-TNM Document 535-1 Filed 02/22/23 Page 1 of 21




                   UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA         )
                                 )
                                 )
v.                               )       Case No. 21-cr-00040-TNM
                                 )
PATRICK MCCAUGHEY, III, et. al., )
                                 )
                                 )
             Defendant           )
                                 )



      DEFENDANT DAVID MEHAFFIE’S SENTENCING STATEMENT




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                                     1
      Case 1:21-cr-00040-TNM Document 535-1 Filed 02/22/23 Page 2 of 21




      Defendant David Mehaffie, through his undersigned Counsel of Record,

William L. Shipley, submits this Sentencing Statement in advance of his

sentencing hearing set for February 24, 2023.

      Because the Court was the finder of fact at trial, Defendant Mehaffie will

not engage in a lengthy review of the evidence presented at trial. But the

following is the general arc of the factual narrative developed during both the

Government’s case-in-chief and the defense case.

      Defendant Mehaffie traveled from his home in Dayton, Ohio, to

Washington D.C. with his wife and two of his six adult children. Defendant

Mehaffie came for the purpose of seeing in-person what he expected to be the

last public speech given by former President Donald Trump while in office.

Defendant Mehaffie had been active in political causes earlier in his adult life,

and had attended protest events in and around his hometown of Dayton. He

encouraged his adult children to come with he and his wife to Washington D.C.

for the purpose of trying to inspire them to take more interest and become

more active in political and civic matters.

      Defendant Mehaffie testified that he had no intention prior to attending

the speech to walk to the Capitol and participate in whatever protest activities

were planned for that location following the rally. It was only the comments by

former President Trump, and the movement of the large crowd from the Ellipse

in the direction of the Capitol which prompted Defendant and his family to

follow. Because they were on the extreme west side of the Ellipse during the

rally and speeches, and the Capitol was to the east of the rally location, they




                                         2
        Case 1:21-cr-00040-TNM Document 535-1 Filed 02/22/23 Page 3 of 21




were at the very rear of the large crowd of rally attendees who headed towards

the Capitol.

        In the verdict read from the bench, the Court focused on Mr. Mehaffie’s

conduct starting around 2:52 p.m., when he took up the elevated position on

the wall outside the Lower West Terrace tunnel. Because all the verdicts

reached by the Court turn on facts as the Court found during that time period,

Mr. Mehaffie requests that those facts as read by the Court be deemed the

“Offense Conduct” in this case, and that any information in the PSR outside

that time frame be deleted from the “Offense Conduct” section of the PSR – with

the exception of the facts set forth regarding the Capitol building and Capitol

grounds being restricted areas on January 6, 2021 while Mr. Mehaffie was

present.

   I.      U.S.S.G. CALCULATIONS:

        A. Guideline Section Applicable to Offense(s) of Conviction

   Mr. Mehaffie was convicted of two felony charges – Count 12, charging him

with a violation of 18 U.S.C. Sec. 111(a)(1) and (2); and Count 35, charging him

with a violation of 18 U.S.C. Sec. 231(a)(3).

   Mr. Mehaffie was also convicted of two misdemeanor violations of Title 40,

U.S.C. Sections 5104(e)(2).

   The parties and the Probation Officer agree that the applicable Guideline is

Sec. 2A2.4 for both Counts 12 and 25.

   Under Sec. 2A2.4, the base offense level is 10. There are no applicable

enhancements, and the adjusted offense level is 10.




                                         3
        Case 1:21-cr-00040-TNM Document 535-1 Filed 02/22/23 Page 4 of 21




   With a Criminal History Score of 0, Mr. Mehaffie is in Criminal History

Category I.

   The Advisory Guideline Range is 6-12 months.

        B. Objections to the Guideline Calculation in the PSR.

   The draft PSR applied Guideline Section 2A2.4. In its informal objections to

the draft PSR, the Government urged the Probation Officer to apply the cross-

reference from 2A2.4(c), which directs that Sec. 2A2.2 is to be applied in cases

involving “aggravated assault.”

   The final PSR adopted the Government’s position. As a result, the Probation

Officer’s Guideline analysis determined the Adjusted Offense Level to be 23.

With a Criminal History Category of I, the resulting advisory range was 46-57

months in custody.

   This calculation, premised upon the application of the cross-reference in

Section 2A2.4(c), is clearly erroneous.

              1. The Cross-Reference in Section 2A2.4(c) is inapplicable.

        In the draft PSR, the Probation Officer applied U.S.S.G. Sec. 2A2.4 to

both felony counts. The Government made an informal objection with respect

to Count 12, arguing that the cross-reference set forth in Sec. 2A2.4(c) applied,

and that the cross-reference instructs that Sec. 2A2.2 is to be applied in this

case.

        In doing so, the Probation Officer was urged to adopt a legally dubious

statutory interpretation pushed by the Government, has now confused two

principles of statutory interpretation.




                                          4
      Case 1:21-cr-00040-TNM Document 535-1 Filed 02/22/23 Page 5 of 21




      First, the structure of Section 111(a) establishes misdemeanor and felony

versions of a wide range of prohibited conduct, depending on the presence or

absence of one or more specific aggravating factors.

      The second – not involved here -- is that some specific crimes are defined

by statute in both misdemeanor and felony versions. One example is “simple

assault” and “aggravated assault,” where both versions have the common

feature of “assault” as the foundation.

      What the Government urged, and what the Probation Officer has now

mistakenly done, is take the latter principle and apply it to the former

circumstance.

      Section 111(a) reads as follows in pertinent part:

            (a) In General. —Whoever—

             (1) forcibly assaults, resists, opposes, impedes, intimidates, or
      interferes with any person designated in section 1114 of this title while
      engaged in or on account of the performance of official duties; …

             shall, where the acts in violation of this section constitute only
      simple assault, be fined under this title or imprisoned not more than one
      year, or both, and where such acts involve physical contact with the
      victim of that assault or the intent to commit another felony, be fined
      under this title or imprisoned not more than 8 years, or both.

      The statutory text makes no reference to “aggravated assault.” What it

does is define two circumstances in which broadly stated offense conduct

changes from a misdemeanor to a felony – “physical contact with the victim” or

“intent to commit another felony….” Any felony under Sec. 111(a) must involve

one of these two features. This is markedly different from defining

misdemeanor and felony versions of a specific criminal act.




                                          5
        Case 1:21-cr-00040-TNM Document 535-1 Filed 02/22/23 Page 6 of 21




        There is no dispute that the Guideline Provision that applies is Sec.

2A2.4. See PSR Par. 42. But the Probation Officer then applied 2A2.4(c) with

regard to the “cross-reference.” Subsection (c) reads: “If the conduct

constituted aggravated assault, apply §2A2.2 (Aggravated Assault).” [Emphasis

added].

        The issue presented is whether “conduct” constituting “aggravated

assault” can be established by conduct not involving any “assaultive” behavior

but with only the “aggravating” feature present. In the “Alice in Wonderland”

analysis advanced by the Government, apparently it can.

        “Aggravate assault” is not defined in Sec. 2A2.4, but it is defined in the

commentary to Section 2A2.2. The definition reads:

               "Aggravated assault" means a felonious assault that involved (A) a
        dangerous weapon with intent to cause bodily injury (i.e., not merely to
        frighten) with that weapon; (B) serious bodily injury; (C) strangling,
        suffocating, or attempting to strangle or suffocate; or (D) an intent to
        commit another felony.1 [Emphasis added].

        The obvious problem with the Government’s position is that the existence

of an “aggravated assault” is conditioned upon the factual existence of a

felonious “assault.”

        The Court’s findings of fact underlying its verdict expressly found that

Mr. Mehaffie was not criminally liable for any assaultive conduct either as a

principal or as an aider and abettor.



        1  Sections 2A2.2 and 2A2.4 are both indexed by the guidelines to 18 U.S.C. Sec. 111. Since the Guidelines
apply only to felonies, the indexing can only be based on the felony version of the statutory offense. The only
“felony” version of a “non-assault” violation of Sec. 111 is one with the “intent to commit another felony.” But if
the cross-reference moves every such offense to Sec. 2A2.2, then the indexing of the 2A2.4 to Section 111 is
meaningless as there is no “felony” version of Sec. 111 that is not “aggravated assault.”



                                                         6
      Case 1:21-cr-00040-TNM Document 535-1 Filed 02/22/23 Page 7 of 21




      As the Court noted during an exchange with Counsel for Mr. Mehaffie

during closing argument, the language of Section 111(a) reaches a broad range

of conduct in addition to what might be considered “assault” under common

law. In response to a comment from Mr. Mehaffie’s counsel about

distinguishing between obstructive behavior and assaultive behavior on the

question of guilt or innocence, the Court asked rhetorically “Why wouldn’t that

be a matter for sentencing?” knowing Counsel would see the answer as self-

evident – which he did.

      But the Probation Officer – at the urging of the Government – has now

taken away that distinction by making a conviction with factual finding of

nonassaultive behavior into a case of “aggravated assault” at sentencing by

applying the cross-reference where the requisite factual premise is missing.

      In reading its verdict on Count 12 into the record the Court in no fewer

than four instances appeared to choose its words very carefully in describing

Mr. Mehaffie’s criminal liability via aiding and abetting, each time studiously

avoiding the word "assault” to characterize his criminal responsibility,

including this observation:

            I note that the Government has not argued [David
            Mehaffie] wanted the crowd to assault the officers.
            Indeed, there was evidence of him repeatedly telling
            people not to hurt the officers and of him taking poles
            and other potential weapons away from the rioters.

      Transcript of Verdict, Sept. 13, 2022, p. 36, lns 3-7.

      The Court expressly found as a factual matter that Defendant Mehaffie

did not aid and abet the “assault” of any law enforcement officer, but that he




                                        7
        Case 1:21-cr-00040-TNM Document 535-1 Filed 02/22/23 Page 8 of 21




could not “escape liability for the nonassaultive conduct, including resisting,

imposing, and interfering with officers.” Id. at p. 36, lns 9-11.

         With that factual record, it is important to note that the Sec. 2A2.4(c)

cross-reference and the definition of “aggravate assault” both related to the

“conduct” of the offense. As noted above, the cross-reference applies “If the

conduct constituted aggravated assault.”

         The “conduct” of Defendant Mehaffie did not involve any assault – it was

a “nonassaultive” violation of Sec. 111(a) as explicitly stated by the Court in its

verdict. Given the plain meaning of the unambiguous terms of Sec. 2A2.4(c),

the subsection and cross-reference therein is not applicable.2

             2. Civil Disorder cannot be “Another Felony” for Purposes of the
                Cross-Reference at §2A2.4(c)(1)

         The Court expressly stated in its verdict that the same conduct which

supported the guilty verdict on Count 12 also established the Mr. Mehaffie’s

guilt as to Count 35 for “Civil Disorder.” Mr. Mehaffie contends that the same

offense conduct establishing two simultaneous crimes does not meet the

requirement that there be an intent to commit “another felony” that would

trigger the cross-reference in Sec. 2A2.4(c).

         This specific issue was considered by Judge Amy Berman Jackson at the

sentencing hearing in United States v. Hamner, 21-cr-689:

         It strikes me that if the Commission is asking: Did you commit the
         assault with the intent to commit some other offense? It didn’t mean with
         the intent to commit that exact same assault, just charged differently.


2The inapplicability of the cross-reference is further underscored by the fact that the numerous enhancements
under Sec. 2A2.2 almost all involve either bodily injury to a victim, acts of violence by the defendant, or the use of
a weapon or other dangerous instrument in connection with the offense. None of those are applicable to non-
assaultive offense conduct that violates Sec. 111(a).


                                                           8
      Case 1:21-cr-00040-TNM Document 535-1 Filed 02/22/23 Page 9 of 21




      They could have easily defined ‘another offense’ as any offense with any
      different elements that’s a different offense, but they didn’t.

      It’s also important to note that the cross reference says you go to
      aggravated assault if the assault on the police officer involved the intent
      to commit another felony, not the same intent needed to satisfy the
      elements of another felony, not that it was committed during the
      commission of another felony. This suggests that the guideline is meant
      to cover just the situation in the cases that you cited, where the assault
      on the police officer is intended to facilitate or further or advance or
      succeed in the commission of or evasion of apprehension for a second,
      different crime.

Sentencing Transcript, United States v. Hamner, 1:21-cr-689, p. 20:21-25, p.

21:1-11.3.

      As expressed by her, and as she ultimately applied it in Hamner, Judge

Jackson found that the “intent” to commit “another felony” could not be the

same “intent” as found with the first felony. Two crimes committed

simultaneously, found based upon the same mens rea and actus reus, cannot

be both the felony and the required “another felony” to trigger the cross-

reference in Section 2A2.4(c).

      If Judge Jackson’s view were to be applied by the Court here, the fact

that the same conduct underlies both the Sec. 111(a) conviction and the Sec.

231 conviction means that the latter is not “another felony” as contemplated in

the Guidelines in that it was not a latter or subsequent crime with a separate

mens rea from that found for the Sec. 111(a) offense.

      Taking the issue one step further, Judge Berman Jackson noted “at best,

the cross reference is ambiguous. And under such circumstances the Rule of

Lenity requires the adoption of the definition that favors the defendant.” Id. at

p. 24:1-3.




                                        9
     Case 1:21-cr-00040-TNM Document 535-1 Filed 02/22/23 Page 10 of 21




      For Mr. Mehaffie, the drastic difference in his guideline calculation under

the two respective Guideline Sections must be noted. The base offense level

increases by 4; and injury enhancement of +3 levels only applies under Section

2A2.2; and the official victim enhancement only applies under Sec. 2A2.2,

adding another 6 levels.

Sec. 2A2.2                            Sec. 2A2.4

 Base Offense Level 14                 Base Offense Level 10

 Bodily Injury to Victim: +3           N/A

 Official Victim: +6                   N/A

 Adjusted Offense Level: 23            Adjusted Offense Level: 10

 Crim. Hist. Cat. 1                    Crim. Hist. Cat. 1

 GL Range: 46-57 months                GL Range: 6-12 months
                                       (Zone B -- eligible for probation)


         3. The Sentencing Guidelines’ Definition of “Aggravated Assault”
            is Unreasonable and Not Entitled to Deference

      The definition of “aggravated assault” is found not in the Guideline itself,

but only in the commentary to the guideline. This distinction is important

because the commentary to the Sentencing Guidelines is not accorded the full

force of the guideline, but rather is considered as “an agency’s interpretation of

its own legislative rule.” Stinson v. United States, 508 U.S. 36, 44 (1993). This

Circuit has said that the Sentencing Guideline’s application notes do not

qualify for deference under Stinson if they “expand[] rather than interpret[] the

Guideline.” United States v. Winstead, 890 F.3d 1082, 1091 (D.C. Cir. 2018).

Further, the Supreme Court recently stated there are important limits to the



                                        10
     Case 1:21-cr-00040-TNM Document 535-1 Filed 02/22/23 Page 11 of 21




deference courts give to an agency’s interpretation of its own rules. See

generally Kisor v. Wilkie, 139 S. Ct. 2400, 2424-2418 (2019).

      To be granted deference, the agency’s interpretation must be of a

regulation that is genuinely ambiguous. Kisor, 139 S. Ct. at 2415. Genuine

ambiguity cannot be determined based solely on the plain language of the

regulation. Instead, courts must exhaust all the “traditional tools” of

construction, including consideration of the text, structure, history and

purpose of the regulation. Id. (citations omitted).

      The United States Sentencing Commission created three separate

guidelines for Aggravated Assault (§2A2.2), Assault (§2A2.3) and Obstructing or

Impeding Officers (§2A2.4).

      Congress created a structure to the federal statute for “Assaulting,

Resisting, or Impeding Certain Officers,” 18 U.S.C. Sec. 111, that includes

three degrees of criminal responsibility: 1) simple assault, a misdemeanor

punishable by not more than 1 year; 2) conduct including physical contact

with an officer, or the intent to commit another felony, punishable by up to 8

years; and 3) offenses involving a dangerous weapon or bodily injury,

punishable by up to a maximum of 20 years. The first two are found in Sec.

111(a), and the third is found in Sec. 111(b).

      Congress separated Subsection 111(b) and explicitly titled it “Enhanced

Penalty,” making a clear distinction in the statute with both the structure of

the statute and the escalating punishments. The only offenses that qualify for

an “enhanced penalty” of up to 20 years in prison are those that involve a

dangerous weapon or bodily injury. Mere physical contact and the “intent to



                                        11
     Case 1:21-cr-00040-TNM Document 535-1 Filed 02/22/23 Page 12 of 21




commit another felony” make a defendant subject to a greater sentence than

simple assault. The distinction is nothing more than that between a

misdemeanor and felony, not an “aggravated” and “unaggravated” version of

those crimes. This structure strongly suggests that it is 111(b) that is the

“aggravated” form of the felony, not the felony version of the 111(a) offenses.

      These distinctions, enacted by Congress, provide important context when

determining the extent to which the U.S.S.G defined “aggravated assault” in the

commentary should be respected. To the extent there is an inconsistency, the

commentary has less value as guidance to this Court, and what weight should

be afforded to the Commission’s definition.

      The commentary characterizes four categories of what offenses the

Commission deems to be “aggravated assault.” Three of them are directly tied

to the distinction Congress established in the statutory framework via Sec.

111(b): 1) use of a dangerous weapon, 2) bodily injury, and 3) strangulation,

which by its nature carries a serious risk of bodily injury. See USSG § 2A2.2,

Application Note 1. The 4th category – intent to commit another felony – is an

unrelated to bodily injury or the risk thereof. The Commission’s definition

elevates “intent to commit another felony” into a more serious category than in

the statute despite the distinctions made by Congress within the statute itself.

The Commission made the “intent to commit another felony” prong of Sec.

111(a)(1) tantamount to the “aggravated” forms of assault under the “enhanced

penalty” prong of Sec. 111(b), even though the statutory maximums for the

different prongs vary by 12 years.




                                        12
     Case 1:21-cr-00040-TNM Document 535-1 Filed 02/22/23 Page 13 of 21




      Further, without explanation the Commission did not elevate the

“physical contact” prong of Sec. 111(a)(1). There is simply no justification for

the Sentencing Commission to treat the two prongs of Sec. 111(a)(1) differently

from each other, and the manner in which it was done is in clear contravention

of the distinctions created by Congress. For these reasons, USSG § 2A2.2 is not

genuinely ambiguous and thus no deference should be given to the

commentary that elevates the intent to commit another felony to an

“aggravated assault.” The definition of aggravated assault can be determined

directly through the traditional tools of construction by examining the relevant

statute directly.

         4. The Court Should Use USSG § 2A2.4 for the Base Offense Level

      Section 2A2.4 is clearly the appropriate guideline for Counts 12 and 35.

It is titled “Obstructing or Impeding Officers.” This Court’s findings of fact

expressly found Mr. Mehaffie guilty of aiding and abetting others in “resisting,

opposing, and interfering with officers.” As noted above, the Government did

not argue that Mr. Mehaffie had aided and abetted “assault(s)” of the officers –

it could not because the uncontested facts as noted by the Court was that he

made numerous attempts to prevent that from happening. Thus, there would

have been a failure of proof on mens rea had the Government pursued that as

its basis for criminal culpability.

      This common-sense approach to the facts and the Guidelines shows that

Sec. 2A2.4 is the guideline that most appropriately fits the facts of this case.

Even if the Court were to find Sec. 2A2.2 is genuinely ambiguous, and the

Commentary definition was instructive, an agency’s interpretation must still be



                                        13
     Case 1:21-cr-00040-TNM Document 535-1 Filed 02/22/23 Page 14 of 21




“reasonable” for it to control. Kisor ̧139 S. Ct. at 2415 (citation omitted). There

the Supreme Court was clear: “And let there be no mistake: That is a

requirement the agency can fail.” Id. at 2416.

      The Sentencing Commission’s definition fails the reasonableness test by

making assaults with the “intent to commit another felony” equivalent to

assaults that included use of a deadly weapon or risked bodily injury. This is

an unreasonable interpretation in light of the statutory framework created by

Congress and common sense. An intent to commit another felony, by itself,

does not make an assault equally serious as one that creates risk of bodily

injury or employed a deadly weapon.

         B. Bodily Injury Enhancement – Sec. 2A2.2(b)(3)(A)

      In the event this Court does not find in favor of Mr. Mehaffie, and

determines that Sec. 2A2.2 is the applicable guideline, Mr. Mehaffie objects to

the 3-level enhancement for bodily injury to the victim (USSG § 2A2.2(b)(3)(A)).

      In Par. 43 of the PSR, the Probation Officer assigns a 3-level

enhancement to Mr. Mehaffie pursuant to USSG § 2A2.2(b)(3)(A) because

others in the tunnel injured Officer Hodges. Paragraph 43 makes reference to

“relevant conduct” and “jointly undertaken criminal activity” in justifying the

application of this enhancement. Both concepts are the subject of commentary

in U.S.S.G. Section 1B1.3(a)(1)(A) and (B). That Subsection reads as follows:

      (a)      Chapters Two (Offense Conduct) and Three (Adjustments). Unless
      otherwise specified, (i) the base offense level where the guideline specifies
      more than one base offense level, (ii) specific offense characteristics and
      (iii) cross references in Chapter Two, and (iv) adjustments in Chapter
      Three, shall be determined on the basis of the following:




                                        14
     Case 1:21-cr-00040-TNM Document 535-1 Filed 02/22/23 Page 15 of 21




            (1)(A) all acts and omissions committed, aided, abetted,
            counseled, commanded, induced, procured, or willfully caused by
            the defendant; and

            (B)   in the case of a jointly undertaken criminal activity (a
            criminal plan, scheme, endeavor, or enterprise undertaken by the
            defendant in concert with others, whether or not charged as a
            conspiracy), all acts and omissions of others that were—


                  (i)    within the scope of the jointly undertaken criminal
                  activity,

                  (ii)   in furtherance of that criminal activity, and

                  (iii) reasonably foreseeable in connection with that
                  criminal activity;


      that occurred during the commission of the offense of conviction, in
      preparation for that offense, or in the course of attempting to avoid
      detection or responsibility for that offense;


      Officer Hodges was injured as a result of the assault committed upon

him by co-Defendant McCaughey. The Court’s factual findings in support of its

verdict on Count 12 as to Mr. Mehaffie expressly determined that he did not aid

and abet “assaultive” conduct by other rioters. On that basis, the

enhancement does not apply to Mr. Mehaffie under Subsection (a)(1)(A).

      In Subsection (a)(1)(B), “jointly undertaken criminal activity” is defined in

the parenthetical to mean “a criminal plan, scheme, endeavor, or enterprise

undertaken by the defendant in concert with others, whether or not charged as

a conspiracy.” The factual record does not support a finding of a “plan,

scheme, endeavor or enterprise undertaken … in concert with others.” At best

the record reflects a disparate group of strangers who arrived in the same place

at the same moment, and spontaneously engaged in an effort to accomplish the



                                        15
         Case 1:21-cr-00040-TNM Document 535-1 Filed 02/22/23 Page 16 of 21




same goal – getting past the police line in the Lower West Terrace tunnel in

order to gain access to the interior of the Capitol. There was no “plan” or

“scheme” advanced by the Government in the evidence of the case.

            C. Aggravating Role in the Offense:

         The Government seeks an enhancement for aggravating role in the

offense under U.S.S.G. Sec. 3B1.1(c). That section reads: “If the defendant

was an organizer, leader, manager, or supervisor in any criminal activity other

than described in (a) or (b), increase by 2 levels.”

         While the Court found that Mr. Mehaffie was giving hand signals and

verbal directions to rioters who were moving towards the entrance to the

tunnel, no one was obligated to respect or follow Mr. Mehaffie’s signals and

directions. His participation in that respect was spontaneous and self-

appointed. On that basis, Section 3B1.1(c) is not applicable.



   II.      RELEVANT FACTORS UNDER SECTION 3553.

         Mr. Mehaffie will not belabor the “History and Characteristics of the

Defendant” in this Statement. Mr. Mehaffie testified for several hours at his

trial, and provided significant biographical information as part of that

testimony. The PSR accurately captures Mr. Mehaffie in most respects, as

supplemented by Mr. Mehaffie’s informal responses to the draft version of the

PSR which the Probation Officer has included in the appropriate places.

         Mr. Mehaffie is 63 years old and has been happily married to his wife

Kymberly for 43 years. Together they have raised six children – four boys and




                                          16
     Case 1:21-cr-00040-TNM Document 535-1 Filed 02/22/23 Page 17 of 21




two girls -- who are now all adults. They are also grandparents to 13

grandchildren.

      The Mehaffies were active in their younger adult years in political causes

and non-violent protest activities based on his strong religious beliefs. This

activism often manifested itself in non-violent civil disobedience protest

activities, for which Mr. Mehaffie was twice arrested. He was also active in

politics, including serving as campaign manager in an unsuccessful campaign

for Congress by a friend.

      But as his family grew Mr. Mehaffie shifted his attention to providing for

them by starting a family-owned construction business which he operated for

more than 35 years. That business – with a changed emphasis – is now owned

and operated by his four adult sons. Mr. Mehaffie’s last business endeavor

was a poorly timed – due to COVID – effort at opening a gym in his hometown

early in 2020.

      Mr. Mehaffie, his wife, and two of his adult children came to Washington

DC on January 6 not to protest or engage in any activities at the Capitol. They

came to watch in person what he thought would be the final public speech by

former President Donald Trump in his capacity as such. It was after the

speech, and in reaction both to the comments of Trump and the movement of

the crowd that the family made the decision to walk to the Capitol for whatever

other events might be taking place there.

      That was the extent of Mr. Mehaffie’s planning which ultimately ended

up with him perched on the outside of that tunnel giving signals and directions

to rioters as they went in and out.



                                        17
     Case 1:21-cr-00040-TNM Document 535-1 Filed 02/22/23 Page 18 of 21




      Every step between stepping over the small wall as captured on video, up

to and including the moment the locked glass doors were broken by another

protester, was the result of Mr. Mehaffie’s curiosity about what was taking

place at the Capitol, and what was taking place inside the Capitol. His

curiosity was first piqued by the large crowd as they approached the Capitol

grounds, and then by the fact that it was obvious that people were inside the

Capitol already when he arrived at the building. He testified that he ascended

to the level of the inaugural stage, and then entered the Lower West Terrace

tunnel out of curiosity and a desire to go inside the Capitol where others

already were. He did not know when he entered the tunnel that there were

locked doors that would block his path. By the time he knew, a larger crowd

had already begun to fill the tunnel behind him.

      What has always been lacking in the evidence in this case – because it

doesn’t exist – is any evidence that Mr. Mehaffie had any desire or intention to

interfere or obstruct the official proceedings that were taking place inside the

Capitol. The Court’s verdict acquitting him on that charge was based upon a

lack of such evidence. That’s not because the Government did not look for that

evidence. What it failed to find – because it did not exist – was the kind of

social media or past communications by Mr. Mehaffie filled with election

rhetoric that it has used in so many other cases as direct or circumstantial

evidence of intent.

      As the Court stated in its verdict, the Court’s focus on Mr. Mehaffie’s

conduct was on that period of time after he took up the elevated position

outside the tunnel, and his conduct thereafter.



                                        18
     Case 1:21-cr-00040-TNM Document 535-1 Filed 02/22/23 Page 19 of 21




      Mr. Mehaffie made the mistake of “choosing” a side when the

conflagration broke out in the tunnel between the police safeguarding that

entrance and the protesters trying to enter the Capitol. The correct choice at

that moment would have been to not choose either side, but rather to leave. By

not making the right choice, he now stands convicted of two federal felonies.

      But that lapse in judgement should not redefine him in the eyes of the

Court for purposes of sentencing. He remains the same man who went into the

tunnel. A father and grandfather, a retired businessman in the community in

which he has lived his entire life, a law-abiding citizen who always acted on his

personal beliefs and convictions, and a responsible adult who in many ways –

not all – endeavored to prevent and hold-down the level of violent engagements

between the police and rioters. The Government opted to not show the Court

much of the video following the first successful effort by the Police to eject

everyone from inside the tunnel just at approximately 3:30 p.m. The Court did

see what followed were efforts by Mr. Mehaffie and a handful of others to

persuade the crowd to engage in only peaceful protests – repeatedly urging the

mass of people outside the tunnel at the inaugural stage level to simply sit

down in a time-honored tradition of non-violent civil disobedience to

demonstrate their views. Given the disparity in numbers, the police at the

front of the tunnel were satisfied with that stalemate, as they knew that

eventually the protesters would have to leave. They would get hungry or

thirsty, nature would call, or it would just get darker and colder outside the

Capitol building.




                                         19
     Case 1:21-cr-00040-TNM Document 535-1 Filed 02/22/23 Page 20 of 21




      That stalemate did not last very long as others in the crowd were

unwilling to go along with Mr. Mehaffie’s idea. When that happened, Mr.

Mehaffie departed as quickly as he was able to get through the massive crowd

and find his family.

      Mr. Mehaffie expressed regret for his conduct during his testimony. Mr.

Mehaffie will address the Court directly at sentencing, specifically observations

made by the Court in its verdict read from the bench.

                                      CONCLUSION

      The appliable Guideline is Sec. 2A2.4.

      The base offense level is 10.

      There are no applicabe enhanements.

      Mr. Mehaffie has no criminal history points, and is in Criminal History

Category 1.

      The advisory guideline range is 6-12 month.s

      Because that is in Zone B of the Sentencing Table, he is eligible for a

sentence of probation if that sentence includes a term of home or community

confinement of at least 6 months.

      Mr. Mehaffie requests a sentence of no greater than 6 months home

confinement, followed by a term of probation of whatever duration the Court

deems necessary under Sec. 3553, as well as a community service obligation to

as deemed appropriate by the Court. As noted in Mr. Mehaffie’s PSR, he along

with his sister are the primary care givers for his elderly mother. Mr. Mehaffie

is the primary caregiver during daytime hours while his sister is working.

Home confinement will enable him to continue serving in that role.



                                        20
    Case 1:21-cr-00040-TNM Document 535-1 Filed 02/22/23 Page 21 of 21




Dated: February 23, 2023                 Respectfully submitted,

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                                    21
